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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                )
APPALACHIAN VOICES, et al.,
                                                )
                                                )
                            Plaintiffs,
                                                )
                                                            Civil Action No. 1:25-cv-01982-PLF
                                                )
               v.
                                                )
                                                )
UNITED STATES ENVIRONMENTAL
                                                )
PROTECTION AGENCY, et al.,
                                                )
                                                )
                           Defendants.
                                                )


                                          [PROPOSED] ORDER

        Upon consideration of Plaintiffs’ Motion for Class Certification, Defendants’ opposition,

and Plaintiffs’ reply, it is hereby:

    1. ORDERED that the motion is GRANTED;

    2. ORDERED that the named Plaintiffs are appointed as class representatives; and

    3. ORDERED that counsel from the Southern Environmental Law Center, Earthjustice, and

        Public Rights Project are appointed as class counsel.


Dated: _______________                               ________________________________
                                                     UNITED STATES DISTRICT JUDGE
                                                     PAUL FRIEDMAN
